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                           UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF FLORIDA

                         Case No. 14-21553-Civ-COOKE/TORRES

  MIRTHA GARCIA,

         Plaintiff,

  vs.

  PORTFOLIO RECOVERY ASSOCIATES, LLC

        Defendant.
  ____________________________________________/
                         ORDER OF REFERRAL TO MEDIATION
         Trial having been set in this matter for the two-week period commencing February
  9, 2014 pursuant to Federal Rule of Civil Procedure 16 and Southern District Local Rule
  16.2, it is hereby
         ORDERED AND ADJUDGED as follows:
        l.     All parties are required to participate in mediation. The mediation shall be
  completed by December 3, 2014.

          2.    Plaintiff’s counsel, or another attorney agreed upon by all counsel of record
  and any unrepresented parties, shall be responsible for scheduling the mediation conference.
  The parties are encouraged to avail themselves of the services of any mediator on the List of
  Certified mediators, maintained in the office of the clerk of this Court, but may select any
  other mediator. The parties shall agree upon a mediator within fifteen (15) days from the
  date hereof. If there is no agreement, Plaintiff’s counsel shall promptly notify the Clerk in
  writing and the Clerk shall designate a mediator from the List of Certified Mediators, which
  designation shall be made on a blind rotation basis.

          3.      The parties shall agree on a place, date, and time for mediation convenient to
  the mediator, counsel of record, and unrepresented parties shall be established. The
  Plaintiff’s attorney shall complete the attached form order and submit it to the Court, no
  later than thirty (30) days before the mediation.

         4.     The appearance of counsel and each party or representatives of each party
  with full authority to enter into a full and complete compromise and settlement is
  mandatory. If insurance is involved, an adjuster with authority up to the policy limits or the
  most recent demand, whichever is lower, shall attend.

         5.      All discussions, representations, and statements made at the mediation
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  conference shall be confidential and privileged.

         6.     At least ten (10) days prior to the mediation date, all parties shall present to
  the mediator a brief written summary of the case identifying issues to be resolved. Copies of
  these summaries shall be served on all other parties.

         7.     The Court may impose sanctions against parties and/or counsel who do not
  comply with the attendance or settlement authority requirements herein or who otherwise
  violate the terms of this Order. The mediator shall report non-attendance and may
  recommend imposition of sanctions by the Court for non-attendance.

          8.    The mediator shall be compensated in accordance with the standing order of
  the Court entered pursuant to Rule 16.2(b)(7), or on such basis as may be agreed to in
  writing by the parties and the mediator selected by the parties. The parties shall share the
  cost of mediation equally unless otherwise ordered by the Court.

          9.     If a full or partial settlement is reached in this case, counsel shall promptly
  notify the Court of the settlement in accordance with Local Rule 16.2(f), by the filing of a
  notice of settlement signed by counsel of record within ten (10) days of the mediation
  conference. Thereafter the parties shall forthwith submit an appropriate pleading
  concluding the case.

          10.    Within five (5) days following the mediation conference, the mediator shall
  file a Mediation Report indicating whether all required parties were present. The report
  shall also indicate whether the case settlement (in full or in part), was continued with the
  consent of the parties, or whether the mediator declared an impasse.

          11.   If mediation is not conducted, sanctions may be imposed.

          DONE and ORDERED in chambers, at Miami, Florida, this 3rd day of September
  2014.




  Copies furnished to:
  Edwin G. Torres, U.S. Magistrate Judge
  Counsel of record
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                          UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF FLORIDA

                         Case No. 14-21553-Civ-COOKE/TORRES

  MIRTHA GARCIA,

         Plaintiff,

  vs.

  PORTFOLIO RECOVERY ASSOCIATES, LLC

        Defendant.
  ____________________________________________/
                          ORDER SCHEDULING MEDIATION
         The mediation conference in this matter shall be held with __________________ on
  _______________, 20__, at _______ .m. at __________________________________
  _________________________________, Florida.
         ENTERED this _____ day of _______________ 20__.



                                                _______________________________
                                                MARCIA G. COOKE
                                                UNITED STATES DISTRICT JUDGE

  Copies furnished to:
